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                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

                                                 )
CANDICE ROSS and                                 )
                                                 ) CASE NO. 2:10-cv-1098
TIFFANY GRAY,                                    )
                                                 )
                              Plaintiffs,        )
                                                 )
                 v.                              ) COMPLAINT
                                                 )
CHOICE HOTELS INTERNATIONAL,                     ) JURY TRIAL DEMAND
INC. and                                         )
                                                 )
GNA PROPERTIES, LLC,                             )
                                                 )
                              Defendants.        )
                                                 )


                                       INTRODUCTION

       1.       Plaintiffs Candice Ross and Tiffany Gray are African-American women and

residents of Columbus, Ohio. Ms. Ross and Ms. Gray bring this action to seek redress for

injuries that they suffered because of Defendants’ racially discriminatory denial of public

accommodations and the right to contract.

       2.      Defendants offer public accommodations at a hotel in Columbus, Ohio known as

Comfort Suites East. On March 6, 2010, Defendants denied Ms. Ross and Ms. Gray the use and

enjoyment of the benefits, privileges, terms and conditions that they extend to all other similarly

situated guests and invitees. Defendants breached their contract with Ms. Ross and Ms. Gray

and discriminated against them in violation of the Civil Rights Act of 1866, 42 U.S.C. § 1981

and the Ohio Revised Code § 4112.02(G).
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                                JURISDICTION AND VENUE

       3.      The Court has primary jurisdiction over Plaintiffs’ federal claim pursuant to 28

U.S.C. § 1331 and § 1343(a)(4). The Court has supplemental jurisdiction over Plaintiffs’ state

law claims pursuant to 28 U.S.C. § 1367.

       4.      Venue is proper in the Southern District of Ohio, Eastern Division, pursuant to 28

U.S.C. § 1391 because the events giving rise to these claims occurred in this District.

                                            PARTIES

       5.      Plaintiff Candice Ross is a twenty-one year old African-American woman who

resides in Columbus, Ohio.

       6.      Plaintiff Tiffany Gray is a nineteen year old African-American woman who

resides in Columbus, Ohio.

       7.      Defendant Choice Hotels International, Inc. (“CHI”) is a corporation organized

under the laws of the State of Delaware. The primary purpose of Defendant CHI is to own,

operate, and franchise hotels and motels that offer accommodations to the public.

       8.      Defendant GNA Properties, LLC (“GNA”) is an Ohio limited liability

corporation. Upon information and belief, Defendant GNA owns, manages, operates, and does

business as Comfort Suites East at 5944 Scarborough Road, Columbus, Ohio, a hotel that offers

accommodations to the public. It is a franchisee of Choice Hotels International.

       9.      In connection with these Plaintiffs and the circumstances described herein,

Defendant GNA acted as the actual or apparent agent of Defendant CHI. Plaintiffs believed and

understood that they were doing business with the owner of the brand name “Comfort Suites,”

which is Defendant CHI. Defendant CHI also publicly “guarantees” total guest satisfaction at all




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Comfort Suites Hotels. Hereinafter, Defendants CHI and GNA are collectively referred to as

“Defendant.”

                                             FACTS

       10.     On March 6, 2010, Ms. Ross and Ms. Gray went to Defendant’s hotel at 5944

Scarborough Road, Columbus, Ohio, to rent a room for the evening. Plaintiffs informed the

Defendant’s agent, Paul VanDorn, that the room was to be used first as a gathering place for

Plaintiffs’ friends and family, and then as a sleeping room for Ms. Ross’s brother, who was

celebrating his twenty-third birthday that evening.

       11.     Mr. VanDorn, on behalf of Defendant, offered to enter into a contract with Ms.

Ross and Ms. Gray for the use of Room #218 for one night upon payment of the $129.95 room

rate and applicable taxes. Defendant offered to grant Ms. Ross and Ms. Gray immediate use of

and access to Room #218 upon receipt of payment through the check-out time of 12:00 p.m. on

March 7, 2010.

       12.     Ms. Ross and Ms. Gray accepted Defendant’s offer by paying the nightly room

rate and tax. Ms. Ross paid with her credit card and Ms. Gray paid one-half of the cost to Ms.

Ross in cash. Defendant gave Plaintiffs two activated keycards that provided immediate access

to the hotel and Room #218.

       13.     Later that evening, Ms. Ross’s brother, Shaun Ross-Mitchell, and three of his

friends arrived at the hotel and accessed the room rented by Defendant to Plaintiffs. Mr.

Mitchell and two of his friends were young African-American males.

       14.     Despite the fact that Plaintiffs gave Mr. Ross-Mitchell the key to the room and

permission to access the room in their absence, Mr. VanDorn ordered them to vacate the room




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rented by Plaintiffs until Ms. Ross arrived. Mr. VanDorn also threatened to call the police if they

did not comply with his demands.

          15.    Ms. Ross arrived shortly thereafter with Ms. Gray and demanded an explanation

from Mr. VanDorn as to why he was refusing to allow their guests to be present in Room #218.

Mr. VanDorn told her that she had to leave the hotel. He said that Defendant had a “no party

policy” and a limit of five people in a room at one time. He stated, “If I see more than five

people, you are going to have to leave,” and “if you do not listen to me, you are going to have to

leave.”

          16.    Ms. Ross was taken aback by the change in Mr. VanDorn’s attitude from the

afternoon. She and Ms. Gray would not have paid for the hotel room if Mr. VanDorn had told

them that Defendant had a “no party policy” or a “five person” room limit. Frustrated upon

realizing that her plans for her brother’s birthday were ruined, Ms. Ross began crying.

          17.    Ms. Ross asked for a copy of her receipt and a refund. Mr. VanDorn refused.

Instead, Mr. VanDorn called the Columbus Police Department. He also put a can of Mace on the

front desk.

          18.    Two Columbus Police officers arrived to investigate the situation. Upon being

confronted by the police, Mr. VanDorn admitted to the officers that Defendant did not have a “no

party policy.”

          19.    The officers also determined that more than five people, all white, were in a room

adjacent to Room #218 and that a lot of noise was coming from that room. The officers asked

Mr. VanDorn to explain why Ms. Ross and her guests had to leave the hotel. Mr. VanDorn, who

is white, responded: “It’s not that I don’t like black people. I date black people.”




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          20.   Unable to resolve the situation, the Columbus police officers left the hotel without

further incident. Because Defendant refused to allow Ms. Ross, Ms. Gray, and their invitees to

have access to the hotel room for which they had already paid, Plaintiffs and their guests also left

the hotel.

          21.   Defendant treated Plaintiffs and their guests differently in a place of public

accommodation because of race and/or on the basis of their association with African-American

males. Defendant denied Ms. Ross and Ms. Gray the use and enjoyment of the benefits,

privileges, terms and conditions that it extends to all other similarly situated guests and invitees.

Defendant made up false and pretextual reasons for its treatment of Plaintiffs and their invitees

because of race and/or on the basis of their association with African-American males .

          22.   Defendant breached its contract with Ms. Ross and Ms. Gray. Defendant imposed

terms and conditions on Plaintiffs’ contract that are not imposed on the contracts of other

similarly situated hotel guests. Defendant denied Ms. Ross and Ms. Gray the use and enjoyment

the same accommodations, privileges, and benefits that it grants to other similarly situated hotel

guests.

          23.   As a result of the Defendant’s unlawful actions as described above, Plaintiffs

Candice Ross and Tiffany Gray have suffered, continue to suffer, and will in the future suffer

irreparable loss and injury, including but not limited to economic loss, humiliation,

embarrassment, emotional distress, strain on relationships, and unlawful deprivation of their

federally protected rights to exercise and enjoy equal treatment in the making and enforcing of

contracts in places of public accommodation without regard for race and/or color.




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                                      CAUSES OF ACTION

                                             COUNT I

                    Unlawful Discrimination in Violation of 42 U.S.C. § 1981

        24.     Plaintiffs re-allege and incorporate by reference the above paragraphs, as if fully

set forth herein.

        25.     By discriminating against Plaintiffs on the basis of their race and the race of their

guests and on the basis of their association with African-American males in the manner set forth,

Defendant has denied Plaintiffs the same right to enjoy the benefits, privileges, terms, and

conditions of contract as is, and was, enjoyed by white citizens, in violation of Plaintiffs’ rights

under the Civil Rights Act of 1866, 42 U.S.C. § 1981.

                                             COUNT II

     Unlawful Public Accommodation Discrimination in Violation of O.R.C. § 4112.02(G)

        26.     Plaintiffs re-allege and incorporate by reference the above paragraphs, as if fully

set forth herein.

        27.     By denying Plaintiffs the full and equal enjoyment of the services of a place of

public accommodation on the basis of their race and the race and sex of their guests and on the

basis of their association with African American males in the manner set forth, Defendant has

violated O.R.C. § 4112.02(G).

                                            COUNT III

                                        Breach of Contract

        28.     Plaintiffs re-allege and incorporate by reference the above paragraphs, as if fully

set forth herein.

        29.     Defendant breached its contract with Plaintiffs.




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                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully pray that the Court grant the following relief:

      (1) Enter a declaratory judgment finding that the foregoing actions of the Defendant violate

          the Civil Rights Act of 1866, 42 U.S.C. §1981 and O.R.C. § 4112.02(G).

      (2) Award compensatory damages to Plaintiffs in an amount to be determined by a jury

          that would fully compensate Plaintiffs for economic loss, humiliation, embarrassment

          and emotional distress;

      (3) Award punitive damages to Plaintiffs in an amount to be determined by the jury that

          would punish Defendant for the willful, wanton, and reckless conduct alleged herein

          and that would effectively deter similar conduct in the future;

      (4) Award Plaintiffs their reasonable attorneys’ fees and costs pursuant to 42 U.S.C. §1981

          and O.R.C. § 4112.02(G);

      (5) Order such other relief as this Court deems just and equitable.

                                     DEMAND FOR JURY TRIAL

        Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand a trial by jury of all issues so triable

as of right.




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Dated: December 6, 2010

Respectfully submitted,

/s/ Rachel K. Robinson

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